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language

 porn, n.2
Pronunciation: Brit. /pɔːn/ , U.S. /pɔ(ə)rn/
                                                                       1
 Etymology: Shortened < PORNOGRAPHY n. Compare earlier PORN n. , PORNO adj.

 colloq.

  1. = PORNOGRAPHY n.
     hard porn, soft porn: see PORNOGRAPHY n. 1a.



    1962 John o' London's 10 May 456/2 The central character and narrator, the Captain, is a seedy
         but not at all unsympathetic individual who makes a precarious living by writing ‘porn’.
    1964 New Society 13 Feb. 5/3 The stuff men pass round in barrack rooms as ‘a nice bit of porn’.
    1976 T. HEALD Let Sleeping Dogs Die viii. 154 An elderly woman..looked up from the nudie
         magazine... More soft porn lay around her.
    1977 E. J. TRIMMER et al. Visual Dict. Sex (1978) xxiv. 274 Perhaps the institution of an Oscar for
         the best hard porn movie of the year might give the producers an incentive to quit conning
         their public.
    1980 G. GREENE Dr. Fischer xv. 108, I..sat for an hour before a soft porn film.
    2000 Police Feb. 20/1 Up until now, Internet-friendly pornographers, either suppliers or receivers
         of child porn, have had relatively easy lives.



  2. fig. As the second element in compounds: denoting written or
 visual material that emphasizes the sensuous or sensational aspects
 of a non-sexual subject, appealing to its audience in a manner
 likened to the titillating effect of pornography.

    1973 Jrnl. Pop. Culture 7 257 A real innovator in horror-porn, he was the first underground
         cartoonist to revel in atrocity, to pack his pages with entrails and a crew of frenzied characters
         who enjoy nothing so much as chewing on a bit of warm bowel.
    1977 N.Y. Rev. Bks. 8 Dec. 18/2 True gastro-porn heightens the excitement and also the sense of
         the unattainable by proffering colored photographs of various completed recipes.
    1991 Locus May 19/2 Practically anything that can be obsessed about turns up as hyphenated
         pornography: food-porn, disaster-porn.
    1998 Independent 18 Aug. II. 13/1 Weather-porn, as it is known, also embraces programmes on
         volcanoes, earthquakes, meteors and dinosaurs.
    2002 Dissent Winter 27/2 The writers are particularly tough on themselves, especially when they
         fear they may be turning out the kind of ‘war porn’ that makes the slaughter they describe
         seem fascinating rather than horrifying.



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 COMPOUNDS


  General attrib.

   1964 New Society 13 Feb. 6/2 ‘There's nothing odd about our customers,’ the porn shop assistant
        said.
   1970 Time 16 Nov. 92 So busy are the makers of porn films in San Francisco that they have
        depressed the market for imported sex movies.
   1986 S. CHURCHER N.Y. Confidential ix. 223 Yes, sexual liberation lives. Reinforcements for the
        movement have been eagerly acquiring their first leather, latex, subscriptions to porn
           magazines, [etc.].
   2004 Independent on Sunday (Nexis) 27 June 7 Two twiddly shapes that come out the top of some
        protuberances, like tiny aerials, or pleasuring devices in porn toys.




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 tube, n.
Pronunciation: /tjuːb/
 Etymology: < French tube (1460 in Godefroy Compl.), < Latin tubus.

  I. Artificial.
  1.

  a. A hollow body, usually cylindrical, and long in proportion to its
 diameter, of wood, metal, glass, or other material, used to convey or
 contain a liquid or fluid, or for other purposes; a pipe.
     A more recent and more generic term than pipe, in which the form of the thing is chiefly
     considered, and thus used in reference to many things to which pipe is not applied, pipe being
     an older term retained for tubes used for the passage of liquids, smoke, air, or gas, while tube is
     applied to most recent inventions; but the distinction is often arbitrary, depending on the
     custom of the workshops.



    1658 E. PHILLIPS New World Eng. Words, Tube,..any long pipe through which water or other
         liquid substance is conveyed.
    1660 R. BOYLE New Exper. Physico-mechanicall i. 33 The Mercury in the [barometric] Tube fell
         down lower, about three inches, at the top of the Mountain then at the bottom.
    1690 J. LOCKE Ess. Humane Understanding II. iv. 49 When the Sucker in a Pump is drawn, the
         space it filled in the Tube is certainly the same, whether any other body follows the motion of
         the Sucker or no.
    1837 C. R. GORING & A. PRITCHARD Microgr. 206 [In] a solar microscope..B, the tube containing
         the condensing lens.
    1846 W. GREENER Sci. Gunnery (new ed.) 288 Lateral pressure on the sides of the tube of the gun.
    1861 N. A. WOODS Tour Prince of Wales in Canada 122 The whole Tube [of a tubular bridge] was
         first actually built in England and sent out piece meal.



  b. = TUBING n., material of a tubular form.

    1823 J. BADCOCK Domest. Amusem. 78 Some feet or yards..of that more pliable composition tube,
         employed by the makers of beer engines.
    1893 J. A. HODGES Elem. Photogr. (1907) 87 A piece of india rubber tube.

  2. In specific applications usually indicated by context.

  a. A glass or other tube used in chemistry; esp. = TEST-TUBE n.
 tube of safety = safety tube n. at SAFETY n. Compounds 3.



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    1800 tr. E. J. B. Bouillon-Lagrange Man. Course Chem. I. 60 Melt the phosphorus in boiling
          water, and apply to it one of the ends of the tube, while you hold the other in your mouth.
    1807 T. THOMSON Syst. Chem. (ed. 3) II. 207 A tube of safety is a tube open at its upper end, and
         having its lower end plunged in water.
    1827 M. FARADAY Chem. Manip. i. 21 Glass tubes of various sizes closed at one end.
    1842 M. FARADAY Chem. Manip. (ed. 3) xiv. 307 The best tubes are those made of Bohemian
          potash glass, and used by Liebig in his analyses of organic bodies.



  b. A tubular surgical instrument; a cannula; an intubation-tube.

    1803 Med. & Physical Jrnl. 9 7 The tube is to be passed downwards until it again reaches the
         substance to be extracted.
    1844 R. DUNGLISON Dict. Med. Sci. (ed. 4) , Tube, Œsophageal, Stomach Tube, a long elastic gum
          tube, capable of being passed into the œsophagus or stomach. Tube, Rectal,..similar to the
          last, which is sometimes passed into the colon.
    1877 E. H. KNIGHT Pract. Dict. Mech. (at cited word), (Surgical tubes) a. An esophageal tube,
         capable of being passed into the stomach. b. An elastic gum tube passed per anum into the
         colon... c. A tracheal tube.
    1902 Brit. Med. Jrnl. 3 July, Owing to the depth of the wound two drainage tubes were introduced
         at the time of operation.



  c. A fire-tube or water-tube in a steam-boiler; a boiler-tube.

    1833 N. ARNOTT Elem. Physics (ed. 5) II. 32 In a long waggon~shaped boiler the tubes..should be
         made flat and broad enough to reach from side to side.
    1903 Daily Chron. 7 Jan. 7/2 In the fire-tube or cylindrical boiler the fire and smoke went through
         the tubes, and in the water-tube the fire was outside the tubes and the water passed through
         them.



  d. A small collapsible cylinder of tin or lead used to hold semi-liquid
 substances, as oil-colours.

    1841 RAND Brit. Patent 8863, Their contents may easily be squeezed out by collapsing the said
         tubes or cases.
    1877 E. H. KNIGHT Pract. Dict. Mech. 2643/1 Collapsible tin tubes for artists' colors.
    1881 [see tube-colour n. at Compounds 2].



 e. In wool or worsted spinning: cf. tube yarn n. at Compounds 2,
 and TUBE v. 2.




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    1884 West. Morn. News 5 Sept. 7/4 The foreign yarn trade keeps pretty brisk, particularly in
          lustre wefts, and similar yarns on the tube.



  f. (See quot. 1877.)

    1877 E. H. KNIGHT Pract. Dict. Mech., Tube,..4. the barrel of a chain~pump.



  g. Electronics. A sealed container, evacuated or gas-filled,
 containing two or more electrodes between which an electric current
 can be made to flow; spec. (a) a cathode-ray tube; (b) (chiefly U.S.)
 a thermionic valve. Freq. in Comb. with preceding n., as discharge
 tube, electron tube, picture tube, vacuum tube, qq.v.

    1859 Philos. Trans. (Royal Soc.) 148 15 The direct discharge is that which is visible when taken
         from two wires hermetically sealed in a vacuum tube.
    1898 London, Edinb. & Dublin Philos. Mag. 5th Ser. 46 296 Hertz made the rays travel between
         two parallel plates of metal placed inside the discharge-tube.
    1905 Electrician 16 June 335/1 The phosphorescent spot on the screen of the tube follows strictly
         any changes which occur in the strength of the field.
    1915 Electrician 21 May 241/2 In the X-ray tube..the space charge effects are very much
         exaggerated.
    1922 C. W. TAUSSIG Bk. of Radio ix. 111 The tubes used are 5 watt transmitting tubes.
    1940 H. M. WATSON et al. Understanding Radio v. 223 As you experiment with this one-tube set,
         you will hear many stations faintly.
    1947 R. LEE Electronic Transformers & Circuits i. 3 The limitations which inhere in transformers
         often influence the choice of amplifier tubes.
    1973 G. J. KING Newnes Colour Television Servicing Man. I. i. 29/2 The output direct from the
         tripler is too high an impedance to accommodate the normal beam current swings of the tube
         without serious voltage fluctuations.
    1981 NASHELSKY & BOYLESTAD Devices iv. 128 Production rose from about 1 million tubes in 1922
         to about 100 million in 1937.



  h. inner tube: see INNER adj. 1i. Also ellipt.

    1894 LD. ALBEMARLE & G. L. HILLIER Cycling (rev. ed.) App. 471 The outer arch is removed, the
         inner tube carefully examined, the hole discovered—if necessary by inflating the tube and
         immersing it in water.
    1904 A. B. F. YOUNG Compl. Motorist (ed. 2) xi. 246 When the tube and cover are both in
         place..the air chamber is inflated by means of a pump.
    1979 United States 1980/81 (Penguin Travel Guides) 367 You can buy tubes..at gas stations and
         stands along the route.




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  i. A telephone. Cf. sense 7a and SPEAKING-TUBE n. colloq. or slang.

    [1873 C. M. YONGE Pillars of House II. xiii. 38 Mr. Underwood breathed through a mysterious
          tube, and Edgar appeared.]
    c1899 C. H. CHAMBERS in M. R. Booth Eng. Plays of 19th Cent. (1973) III. 401 (Rings off, and
          hangs up tube.) That is another mistake—that telephone.
    1959 Esquire Nov. 70 Tube, can be television, but usually telephone. Example: Buzz me on the
         tube. Call me up.



  j. A type of skate (see quot. 1923).

    1923 E. JESSUP Snow & Ice Sports 220 The ‘tubes’ are a comparatively recent departure in skate
         design... The blade..is set in a long hollow tube. Similar but wider tubes support the heel and
           front plates.



 k. the tube, television, a television set; also, the boob tube [see
                                      2
 BOOB n. 3] ; cf. the box n. at BOX n. 3j. colloq. (orig. and chiefly U.S.).


    1959 [see sense 2i].
    1965 Sunday News (N.Y.) 4 Oct. 2 She..is making a name for herself as a singer on the tube.
    1966 Current Slang (Univ. S. Dakota) 1 II. 1 Let's catch the late show on the boob tube.
    1972 Observer 31 Dec. 24/1 Turning to the tube in order to redress the balance with a spot of the
         old festive vulgarity.
    1977 M. FRENCH Women's Room (1978) ii. 115, I sit and watch the stupid boob tube.
    1979 Radio Times 11 Aug. 19/1 ‘I see you on the tube a lot,’ an American said to me recently in a
         pub. ‘Oh really,’ I replied, ‘the Piccadilly line?’ ‘No,’ he said, ‘the tube, the dream machine.’



  l. down the tube(s), lost, finished, in trouble; freq. in to go
 down the tube(s)= to go down the drain at DRAIN n. 1e. slang
 (orig. U.S.).

    1963 Amer. Speech 38 168 To fail to pass an examination:..go down the tubes.
    1975 New Yorker 5 May 32/1 It would be ludicrous to end on a note of Chris going down the tube.
    1977 J. D. MACDONALD Condominium xii. 122 We've got too many goodies tucked into the Marliss
          Corporation to take a chance of it going down the tube.
    1982 Listener 16 Dec. 35/3 The smile on Sir Freddie's face the week before it was revealed that he
         was down the tubes to the extent of something over £270 million was the smile of a
         consummate actor.



  m. A bottle or can of beer. Austral. colloq.


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    1969 Listener 24 Apr. 588/2 This..extrovert chunders..his way through the kangaroo valley of
         Earl's Court..buoyed up by innumerable tubes (bottles) of Foster's Beer.
    1980 R. HILL Killing Kindness xx. 187 ‘What do you want to do?’.. Mow my lawn and then cool off
         with a tube of lager, thought Pascoe.



 3. An optical instrument of tubular form, esp. a telescope: more fully
 optic tube. Now arch.

    1651 W. DAVENANT Gondibert V. ii. 16 Others with Optick Tubes the Moons scant face..Attract
         through Glasses.
    1668 S. PEPYS Diary 4 Dec. (1976) IX. 384 Wrote a letter at the Board, by the help of a tube, to
         Lord Brouncker.
    1669 S. PEPYS Diary 14 Mar. (1976) IX. 482 My eyes being very bad; and..I forced to find a way to
         use by turns with my tube, one after another.
    1718 M. PRIOR Solomon on Vanity III, in Poems Several Occasions (new ed.) 490 Of his fair Deeds
         a distant View I took; But turn'd the Tube upon his Faults to look.
    1781 W. COWPER Charity 387 Some grave optician..finds that though his tubes assist the sight,
         They cannot give it.
    1807 J. BARLOW Columbiad VII. 262 On the tall decks their curious chiefs explore, With optic tube,
         our camp-encumber'd shore.
    1867 G. GILFILLAN Night iv. 116 To the silent tube in Herschel's hand A hundred suns spring up.

  4.

 †a. Applied to a tobacco-pipe. poet. Obs. rare.

    1736 I. H. BROWNE Of Smoking 3 Pretty tube of mighty power, Charmer of an idle hour.
    1785 W. COWPER Task V. 55 With pressure of his thumb To adjust the fragrant charge of a short
         tube, That fumes beneath his nose.



  b. A cigarette. slang.

    1946 P. LARKIN Jill 16 Christopher, extending his silver cigarette[-case], said with an uneasy
         smile: ‘Tube for anyone?’
    1975 High Times Dec. 11/2 (advt.) Filter tipped tubes give a smoother smoke to the very end.

  5.

 †a. A cannon; also a rifle or hand-gun. poet.

    1763 W. FALCONER Ode Duke of York 138 The ships their horrid tubes display, Tier over tier.
    1801 Sporting Mag. 17 148 With curious skill the deathful tube is made.



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    1816 BYRON Siege Corinth iii. 10 To point the tube, the lance to wield.
    1897 R. KIPLING in Times 17 July 13/6 Heathen heart that puts her trust In reeking tube and iron
         shard.



  b. A small pipe introduced through the vent, formerly used in firing
                                                          1
 cannon; a friction-tube n., quill-tube n. (a) at QUILL n. Compounds 2,
                                   1
 or priming tube n. at PRIMING n. Compounds 2.

    1797 Encycl. Brit. VIII. 230/2 Firing it [gunpowder] with tubes, introduced at a vent bored
         through the button and breech of the gun, of different lengths, so as to reach the different
            parts of the powder.
    1828 WEBSTER Amer. Dict. Eng. Lang., Tube, in artillery, an instrument of tin, used in quick
         firing.
    1867 W. H. SMYTH Sailor's Word-bk., Tubes, for guns, a kind of portable priming, for insertion
         into the vent,—of various patterns.



  c. The inner cylinder of a built-up gun, upon which the outer case is
 shrunk. Cf. TUBAGE n. 1b.

    1895 I. K. FUNK et al. Standard Dict. Eng. Lang.

  6.

  a. A musical wind-instrument, a pipe. poet. rare.


  b. The main cylinder of a wind-instrument ( Cent. Dict. 1891).

    1820 KEATS Hyperion: a Fragm. I, in Lamia & Other Poems 157 Solemn tubes, Blown by the
         serious Zephyrs, gave of sweet And wandering sounds, slow-breathed melodies.

  7.

  a. A pneumatic dispatch-tube.

    1860 Once a Week 28 July 130/2 Written messages are sucked through tubes... We hear a whistle;
         this is to give notice that a despatch is about to be put into the tube at Mincing Lane, two-
         thirds of a mile distant.
    1861 Engineer XII. 51/3 The loads, in the pneumatic despatch tubes do not much exceed half-a-
         ton, unless the despatch carriages are coupled in trains of two or more.
        2
    1866 [see tube journey n. at Compounds 2].




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    1874 E. H. KNIGHT Pract. Dict. Mech. at Atmospheric Railway, A late act of Congress (1872)
           appropriates $15,000 for a pneumatic dispatch-tube between the Capitol and the
           Government Printing-Office, Washington.
    1894 [see tube-room n. at Compounds 1a].
    1905 Daily Chron. 27 May . 4/3 From Whiteley's 6,194 parcels were dispatched in five hours, of
           which 78 per cent. could have been sent by tube.



  b. The cylindrical tunnel in which an underground electric railway
 runs; also short for tube railway n. at Compounds 1e. colloq. Also,
 any tunnel or tubular bridge for a railway.
     twopenny tube, the Central London Railway, opened in 1900: see TWOPENNY adj. and n.



    1847 QUEEN VICTORIA Jrnl. 15 Aug. (1868) 72 We passed the famous Swilly Rocks, and saw the
         works they are making for the tube for the railroad.
    1900 H. D. BROWNE in Londoner 30 June (heading) The Twopenny Tube.
    1900 Punch 4 July 7/1.
    1901 Lancet 2 Nov. 1209/2 A good portion of the air must be driven backwards and forwards
         unchanged in the tube.
    1902 Westm. Gaz. 24 Oct. 2/3 When the phrase ‘the twopenny tube’ came into existence..a similar
         electric ‘tube’ had been in regular running for close upon ten years.
    1905 H. R. HAGGARD in Gardener's Year May 165 The first part of my journey..was by Tube.



  8. Physics. A tubular figure conceived as being formed by lines of
 force or action passing through every point of a closed curve; as tube
                       1
 of flow (see FLOW n. 1b), tube of force, tube of induction.

    1878 W. K. CLIFFORD Elem. Dynamic 199 If we take a small closed curve, and draw lines of flow
         through all points on it, the tubular surface traced out by these lines is called a tube of flow.
    1881 J. C. MAXWELL Treat. Electr. & Magnetism (ed. 2) I. 378 Tube of Flow.
    1885 H. W. WATSON & S. H. BURBURY Math. Theory Electr. & Magn. I. 104 The portions of any
         surfaces in an electric field intercepted by the same tube of force are called corresponding
         surfaces,..the algebraic sum of the electricities included in the tube in its passage from any
         one surface to any other.
    1902 T. O'C. SLOANE Standard Electr. Dict., Tubes of Force, aggregations of lines of force, either
         electrostatic or magnetic. They generally have a truncated, conical or pyramidal shape and are
         not hollow. Every cross-section contains the same number of lines.

  II. Natural.
  9. Anat. and Zool.

  a. A hollow cylindrical vessel or organ in the animal body; a canal,
 duct, passage, or pipe, as in the circulatory, alimentary, respiratory,
 reproductive, or excretory systems; often preceded by a defining


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 word, as alimentary tube, bronchial tube, Eustachian tube,
 Fallopian tube, intestinal tube, etc.: see these words.

    [cf. 1598 J. FLORIO Worlde of Wordes, Tubo,..the pipe wherethrough the marrow of the backe
            bone runneth.
    1611 R. COTGRAVE Dict. French & Eng. Tongues, Tube, a Conduit~pipe; also, the hollow of the
          back-bone, or the pipe through which the marrow thereof doth runne.]
    1661 T. BLOUNT Glossographia (ed. 2)
    1696 E. PHILLIPS New World of Words (ed. 5) , Fallopian Tubes, two slender Passages proceeding
         from the Womb.
    1741 A. MONRO Anat. Nerves (ed. 3) 114 Part of the Eustachian Tube.
    1756 J. WATHEN in Philos. Trans. 1755 (Royal Soc.) 49 215, I took that opportunity to examine the
         eustachian tube of each ear.
    1809 Med. & Physical Jrnl. 21 400 The œsophagus..that animated tube.
    1826 W. KIRBY & W. SPENCE Introd. Entomol. IV. xli. 128 Connected by a slender tube with each
         mandible in spiders is a vessel with spiral folds, which seems properly to belong to this head.
    1831 J. DAVIES Man. Mat. Med. 374 Its passage in the intestinal tube is attended with the same
          phenomena.
    1904 Brit. Med. Jrnl. 10 Sept. 584 The main depôts of lymphocytes..are round the hollow tubes of
         the body.



  b. One of the siphons of a mollusc.

    1839 C. DARWIN in R. Fitzroy & C. Darwin Narr. Surv. Voy. H.M.S. Adventure & Beagle III. i. 7 It
         [sc. cuttle-fish] could,..take good aim by directing the tube or siphon on the under side of its
         body.



  c. The penis. slang.

    1922 J. JOYCE Ulysses III. xviii. [Penelope] 715, I suppose the people gave him that nickname [sc.
         Mr de Kock] going about with his tube from one woman to another.



 10. A hollow cylindrical channel in a plant; spec. in Bot. the lower
 united portion of a gamopetalous corolla or gamosepalous calyx;
 also, a united circle of stamens.

    a1704 J. LOCKE Elem. Nat. Philos. ix, in Coll. Several Pieces (1720) 209 This [juice] is convey'd by
         the stalk up into the branches, and leaves, through little, and in some Plants, imperceptible
         tubes.
    1760 J. LEE Introd. Bot. I. iii. 7 Monopetalous [corolla]..consists of two Parts, viz. The Tube, or
         lower Part, which is usually Tube-shaped; and the Limb, or upper Part.




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    1776 W. WITHERING Brit. Plants (1796) IV. 310 Tubes white, brownish with age.
    1807 J. E. SMITH Introd. Physiol. & Systematical Bot. 394 Syngenesia. Stamens united by their
         Anthers into a tube, rarely by their Filaments also.
    1884 F. O. BOWER & D. H. SCOTT tr. H. A. de Bary Compar. Anat. Phanerogams & Ferns 187 The
         laticiferous tubes permeate the whole body of the plant, in most cases as a continuous system.

  11.

 a. Applied to other tubular or cylindrical objects or formations of
 natural origin.

    1831 Literary Gaz. 15 Jan. 44/2 Lightning Tubes—In the neighbourhood of the old castle of
          Remstein..there have been found this summer very firm and long vitreous tubes.
    1859 D. PAGE Handbk. Geol. Terms 172 Fulgurite or Fulgorite, any rocky substance that has been
         fused or vitrified by lightning. More strictly applied to a bore or tube produced by the passage
         of lightning into a sandy soil.
    1860 J. TYNDALL Glaciers of Alps II. xxv. 362 The tube in fact resembled a vast organ-pipe.
    1878 T. H. HUXLEY Physiogr. (ed. 2) 190 The molten matter..thus forms a hard stony tube lining
         the volcanic chimney.
    1884 Cornhill Mag. Nov. 526 In sand or rock, where lightning has struck, it often forms long
         hollow tubes, known to the calmly discriminating geological intelligence as fulgurites.



  b. Surfing. The hollow curve of a breaking wave.

    1962 Austral. Women's Weekly 24 Oct. (Suppl.) 3/4 Tube, the area of a dumping wave between
         the breaking crest and the trough.
    1968 Surfer Mag. Jan. 89/1 You get back inside the tube and the whole tunnel is glowing.
    1979 National Geographic Feb. 235 (caption) Shootin' the tube, a surfer threads the eye of a
         breaker.




 COMPOUNDS

  C1. General attrib.
  a.

  tube attendant n.

    1908 Daily Chron. 15 Feb. 1/7 A tube attendant at the G.P.O.



  tube-holder n.




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    1897 Westm. Gaz. 16 Dec. 3/1 A cigar tube-holder that prevents the odoriferous tube from spoiling
          his pocket.
    1905 Brit. Med. Jrnl. 16 Sept. 618 The tube-holder is graduated so that the tube may be easily
         moved a distance of 2½ inches.



  tube-room n.

    1894 Daily News 22 Feb. 2/1 About 30 feet of tube~room on ground floor and contents severely
          damaged by fire.



  tube system n.

    1908 Installation News 2 92/2 The tube system [of electric wiring].



  tube trade n.

    1900 Westm. Gaz. 8 Jan. 9/1 Severe competition in the tube trade.



  tube-vase n.

    1870 A. D. WHITNEY We Girls iii, They were so pretty to put in..little tube-vases.



  tube-wall n.

    1857 P. H. GOSSE Creation 226 The margin of the tube-wall.



  tube-work n.

    1890 Daily News 9 Jan. 2/8 The advance applies to gas, water, and steam tubes, and all the tube
         works of England and Scotland are affected.



  tube-worker n.

    1896 N. Brit. Daily Mail 8 July 2 The pensioner..is a Coatbridge man, having wrought as a tube-
         worker in the burgh.

  b.

  tube-rolling n.



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    1908 Westm. Gaz. 13 Aug. 8/1 Tube-rolling..at 1s. 6d. per 1,000.

  c.

  tube-eyed adj.

    1792 R. SOUTHEY To Contemplation v, I..watch'd the tube-eyed snail Creep o'er his long moon-
         glittering trail.



  tube-like adj.

    1847–9 Todd's Cycl. Anat. & Physiol. IV. I. 27/1 Animals whose tube-like bodies are prolonged
         deeply into the common mass.
    1898 P. MANSON Trop. Dis. xviii. 291 Sometimes tube-like pieces, evidently rings of mucous
         membrane..are discharged.



  tube-shaped adj.

    1760 J. LEE Introd. Bot. I. iii. 7 The..lower Part..is usually Tube-shaped.
    1824 J. C. LOUDON Green-house Compan. I. 56 E[rica]aurea, tube-shaped yellow flowers on plants
         nearly 2 feet high.

  d. In sense 2a.)

  tube-apparatus n.

    1827 M. FARADAY Chem. Manip. xiv. 311 Sulphur may be combined with platina, and phosphorus
         with lime, in a tube apparatus.



  tube atmolyser n.

    1868 H. B. JONES & H. WATTS Fownes's Man. Elem. Chem. (ed. 10) 140 Atmolysis, is best exhibited
         by means of an instrument called the tube-atmolyser.



  tube-bath n.

    1830 M. FARADAY Chem. Manip. (new ed.) xvi. 388 Tube-baths for the conveyance of limited
         temperatures either by the intermedium of water, solutions, or metals.



  tube-chemistry n.



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    1827 M. FARADAY Chem. Manip. vii. 221 Processes of this kind will be described and illustrated in
          Section xvi. on Tube Chemistry.



  tube-furnace n.

    1827 M. FARADAY Chem. Manip. xiv. 304 Placing two bricks edgeways, across a loose square
         grate,..makes an excellent tube-furnace.
    1842 M. FARADAY Chem. Manip. (ed. 3) xix. 505 The tube furnace..is an excellent instrument for
          softening considerable lengths of tubes.



  tube-receiver n.

    1827 M. FARADAY Chem. Manip. xxiv. 635 Make some closed tubes,..some tube receivers..and other
         useful apparatus.



  tube-retort n.

    1827 M. FARADAY Chem. Manip. xix. 499 Tube retorts..are made by first closing the end of a piece of
         tube, and then [etc.].

  e. (In sense 7b.)
                          3
  tube bill n. BILL n. 3.

    1902 Westm. Gaz. 5 Nov. 11/1 The County Council has found itself unable to frame a Tube Bill.



  tube conductor n.

    1909 Westm. Gaz. 18 Feb. 9/4 Tube conductor's shocking death.



  tube mileage n.

    1902 Westm. Gaz. 21 Apr. 10/1 The ‘tube’ mileage in London.



  tube railway n.

    1900 Daily News 3 Dec. 5/2 One of the most useful of the new tube railways.
    1906 C. MANSFIELD Girl & Gods vi, The warm stench from the Tube railway assailed her nostrils.




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  tube-route n.

    1901 Brit. Med. Jrnl. 9 Mar. 591/2 The lines of tube-route being chosen with a view to
          supplementing and completing the means of communication from the suburbs.



  tube station n.

    1913 Daily News 28 Jan. 6 The trains that roar in and out of a tube station.



  tube-train n.

    1901 Daily News 15 June 4/7 Journeying to and from the scenes of their labour in tube-trains.



  tube traveller n.

    1903 Westm. Gaz. 4 July 3/2 Thousands of Tube travellers.



  tube tunnel n.

    1910 Daily Chron. 19 Feb. 3/4 Macdonald..ran to the end of the train and jumped into the tube
         tunnel.

  C2. Special Combs.:

  Tube Alloys n. the code name of a section of the Department of
 Scientific and Industrial Research formed in 1940 and concerned with
 research into the production of an atomic bomb.

    1942 J. ANDERSON in M. Gowing Brit. & Atomic Energy 1939–45 (1964) App. III. 437 When you
         asked me to take over the supervision of work on the project known as ‘Tube Alloys’, it was
         contemplated that..a full scale production would be expected in this country.
    1945 W. S. CHURCHILL Victory (1946) 221 Imperial Chemicals Industries Limited agreed to release
         Mr. W. A. Akers to take charge of this directorate, which we called, for purposes of secrecy, the
         Directorate of ‘Tube Alloys’.
    1978 R. V. JONES Most Secret War xxxv. 309 The British ‘Tube Alloys’ project, as our own nuclear
         bomb effort was called.



  tube-bearing adj. bearing a tube; spec. in Entomol. having a
 tubular ovipositor, tubuliferous ( Cent. Dict. 1891).




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  tube-board n. a board above the reeds in a reed-organ in which are
 the tubes or sound-channels to which the wind passes from the reeds.

    1880 A. J. HIPKINS in Encycl. Brit. XI. 483/2 The channels, the resonators above the reeds [in the
          American organ] exactly correspond with the reeds, and are collectively known as the ‘tube-
          board’.



  tube-breather n. (distinguished from gill-breather), an animal
 which breathes through tubes, tracheæ, or spiracles.

    1889 Cent. Dict. at Gillbreather, Tube-breather.



  tube-brush n. a wire brush for cleaning out boiler-tubes or flues;
 also, a slender brush for cleaning the flexible tube of a feeding-bottle.

    1877 E. H. KNIGHT Pract. Dict. Mech. (at cited word), Stillwell's tube-brush,..may be operated by
         pulling and pushing from the respective ends of the tubes.



  tube-budding n. budding by means of a cylindrical ring of bark.

    1842 J. C. LOUDON Suburban Horticulturist 307 Sometimes the stock is shortened, and the ring put
         on its upper extremity, when it is called flute~budding, or terminal tube-budding.



  tube-case n. in a steam-engine, the chamber containing the tubes
 of a surface-condenser.

    1890 D. K. CLARK Steam Engine II. 683 The water is driven through the tube-case by two
         centrifugal pumps in each engine-room.



  tube-cast n. a cast of a kidney tubule excreted in the urine in
 Bright's disease.

    1873 T. H. GREEN Introd. Pathol. & Morbid Anat. (ed. 2) 69 Tube casts..are for the most part
         hyaline and finely granular.
    1888 P. H. PYE-SMITH Fagge's Princ. & Pract. Med. (1891) II. 154 Tube-casts comparable with those
         which occur in the urine in Bright's disease.



  tube-chime n. a chime of tubular ‘bells’.



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    1887 Pall Mall Gaz. 20 June 3/2 Tube chimes for church towers—an English invention.



  tube-clamp n. a grab for seizing and lifting well-tubes (E. H. Knight
 Pract. Dict. Mech. 1877).


  tube-cleaner n. a tool or other device for cleaning boiler-tubes, etc.
 (E. H. Knight Pract. Dict. Mech.).


  tube-clip n. tongs for holding heated test-tubes; also a clamp or clip
 for gripping a pipe (E. H. Knight Pract. Dict. Mech.).


  tube-cock n. a valve operated by compressing an elastic tube fitted
 into the supply pipe (E. H. Knight Pract. Dict. Mech.).


  tube-colour n. paint packed in a collapsible tube.

    1881 BOUVIER tr. Delamardelle & Goupil Painting on China 1 Thanks to the ingenious invention of
         Tube Colours.



  tube-compass n. compasses with tubular telescopic legs (Knight).


  tube-condenser n. (a) a bent glass tube with a stopper at each end
 through which a smaller tube is passed; (b) in a steam-engine, a
 condenser in which the cooling surface consists of tubes.

    1877 E. H. KNIGHT Pract. Dict. Mech., Tube-condenser.
    1890 D. K. CLARK Steam Engine II. 641 The exhaust steam is condensed to the extent of two-thirds
         in a tube-condenser overhead.


                                                         1
  tube-coral n. organ-pipe coral (see CORAL n. 1b), or its polyp.

    1876 D. PAGE Adv. Text-bk. Geol. (ed. 6) xiv. 245 Among the zoophytes we have cup-corals, star-
         corals, tube-corals.



  tube counter n. Physics the now usual form of Geiger counter, as
 contrasted with the point-counter.


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    1930 Physical Rev. 35 652/1 Automatic recording of the amount of the penetrating radiation
          coming from particular areas of the sky, using two tube-counters and a special ‘coincidence
          circuit’.
    1938 R. W. LAWSON tr. G. von Hevesy & F. A. Paneth Man. Radioactivity (ed. 2) i. 17 We shall only
         discuss the two [counters] that are most important.., viz. the point-counter and the tube-
          counter, both of which were introduced by Geiger.



  tube-culture n. culture of a microbe in a test-tube.

    1886 H. M. BIGGS tr. F. Hueppe Methods Bacteriol. Investig. 143 The changes in such a tube-culture
          after the inoculation with the bacteria vary considerably.



  tube curare n. curare kept or transported in bamboo tubes.

    1898 Jrnl. Chem. Soc. 74 I. 284 Paracurara, or tube curara, is imported in bamboo tubes, and is the
         variety now usually met with in commerce.
    1974 Encycl. Brit. Micropædia III. 300/3 Preparations have been classified according to the
         containers used for them: pot curare in earthenware jars; tube curare in bamboo; and calabash
         curare in gourds.



  tube-cutter n. a tool for cutting off metal pipes, a pipe-cutter.


  tube-cutting n.

    1901 L. M. WATERHOUSE Conduit Wiring 43 In all conduit work a certain amount of tube cutting is
         necessary.



  tube-door n. a door in the smoke-box of a steam-engine, giving
 access to the flues (Knight).


  tube-drawer n.

    1858 P. L. SIMMONDS Dict. Trade Products, Tube-drawer, a maker of metal piping.
    1897 Daily News 7 May 7/4 Consumers of iron—engineers' ironfounders, bridge-builders, rolling-
         stock manufacturers, and tube-drawers.




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  tube-drawing n. the making of metal tubes by drawing roughly
 shaped cylinders through gauged holes or over a triblet; also
 withdrawal of boiler-tubes for inspection or repair.

    1835 A. URE Philos. Manuf. 61 The foundations of kindred works, such as..tube-drawing apparatus.



  tube-expander n. = tube-fastener n.


  tube-fastener n. a tool for fixing the ends of boiler-tubes in the
 tube-plate by expanding their ends against the holes in the plate
 (Knight).


  tube-fed adj. fed, sometimes forcibly, by passing nourishment
 through a tube into the stomach.

    1909 Westm. Gaz. 23 Oct. 3/2 Tube-fed Suffragettes.
    1964 Lancet 26 Dec. 1349/2 Most babies were getting their first tube-feed within 2 hours of birth.
    1980 Brit. Med. Jrnl. 21 June 1493/1 More work is needed to assess the relative merits of these
         proprietary diets compared with the tube feeds, prepared in hospitals.



  tube-feed n.


  tube-feeding n.

    1964 Lancet 26 Dec. 1351/1 Tube-feeding is a very much simpler procedure.
    1974 Brit. Med. Jrnl. 19 Jan. 108/1 The ethical problems of prolonged tube-feeding.



  tube-ferrule n. a ring or thimble forced into the end of a boiler-tube
 to fix it in the tube-plate (Knight).


  tube-filter n. in a tube-well, a strainer to prevent gravel from
 choking the pump (Knight).


  tube-firing n. ? the use of a torpedo-tube.

    1901 Scotsman 13 Mar. 9/8 The crews however practised tube-firing.



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  tube-flower n. a tropical verbenaceous plant, Clerodendron
 Siphonanthus, in which the corolla is funnel-shaped with a very long
 tube ( Treasury Bot. 1866).


  tube-flue n. a fire-tube in a steam-boiler.


  tube-foot n. one of the numerous ambulacral tubes of an
 echinoderm.

    1888 G. ROLLESTON & W. H. JACKSON Forms Animal Life (ed. 2) 551 The tube feet are either
         partially or completely retractile.



  tube-former n. a machine for making small tubes.


  tube-frame n. a tube roving-frame.

    1837 Penny Cycl. VIII. 96/1 The tube frame..Instead of cans,..is provided with revolving horizontal
         cylinders... The rove which it produces has no twist.



  tube-funnel n. a glass funnel prolonged at the bottom into a tube, a
 funnel-tube.


  tube-germination n. the production of a germ-tube in the
 germination of a spore.


  tube-head n. = tube-plate n. (Webster, 1911).


  tube-hearted adj. having a series of pulsating sinuses instead of a
 heart, as the Amphioxus ( Cent. Dict. 1891).


  tube-ignition n. in the internal combustion engine, ignition of the
 charge by a hot tube.

    1903 Motor. Ann. 220 Tube-ignition is satisfactory for a fixed engine.



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  tube journey n. a journey in a tube, spec. a journey by
 underground railway.

    1866 ‘G. ELIOT’ Felix Holt I. Introd. 2 The tube-journey can never lend much to picture and
          narrative.
    1866 ‘G. ELIOT’ Felix Holt I. Introd. 2 Posterity may be shot, like a bullet through a tube, by
          atmospheric pressure from Winchester to Newcastle... The tube-journey can never lend much
          to picture and narrative.
    1972 ‘C. FREMLIN’ Appointment with Yesterday i. 5 No one could guess..that there is one..that has
          left its identity behind not just for the duration of the tube journey, but for ever.



  tube-lift n. a lift for the conveyance of passengers from street-level
 to an underground railway or vice versa.

    1915 E. WALLACE Man who bought London ii. 19 The ‘tube’ lift was crowded.
    1935 E. FARJEON Nursery in Nineties 428 Once she had ventured into a tube-lift—‘But never again,
         my dear Eleanor!’



  tube-machine n. a tube-drawing machine.

    1891 Cent. Dict., Tube-machine.
    1901 L. M. WATERHOUSE Conduit Wiring 8 This strip..is passed through a tube machine from which
         it emerges as a perfectly smooth and regular tube.



  tube-maker n. (a) one who makes tubing; (b) a tube-dwelling
 spider or annelid.

    1888 Encycl. Dict., Tube-makers, the Tubicolæ.
    1890 Daily News 6 Oct. 2/5 Tube makers have this week advanced their discounts 5 per cent.



  tube-making n.

    1898 Westm. Gaz. 9 Mar. 8/2 The amalgamation of all the big tube-making concerns in Scotland.



  tube map n. a map of an underground-railway system.

    1962 J. BRAINE Life at Top xxiii. 256, I used to have a Tube map on my bedroom wall when I was at
         College?
    1977 Times 15 Nov. 17/8 The Bakerloo line on the tube map.



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 † tube-marine n. Obs. rendering Italian tuba (tromba) marina, the
 trumpet marine: see TRUMPET n. 2b.

    1694 W. HOLDER Treat. Harmony viii. 200 The Tube-Marine, or Sea-Trumpet..fully expresseth the
          Trumpet.



  tube-medusa n. a medusa with an internal system of tubes; a
 siphonophore.

    1860 F. C. L. WRAXALL Life in Sea x. 243 Among the Tube Medusæ is also classed the pleasing
          Velella.



  tube-mill n. (a) a tube-making establishment or machine; (b) a
 mill for pulverizing ore, etc., which is placed in a revolving cylinder
 with loose flints or pebbles.

    1909 Westm. Gaz. 1 June 9/3 The addition of eighty stamps and three tube mills at the Nourse
         Mines.



  tube-nosed adj. tubinarial ( Cent. Dict.).


  tube-packing n. packing to prevent water reaching the tube of an
 oil-well (Knight).


  tube-plate n. the plate in which the ends of the boiler-tubes are set.

    1864 Webster's Amer. Dict. Eng. Lang., Tube-plate.
    1874 F. G. D. BEDFORD Sailor's Pocket Bk. v. 167 Leaks about tubes and tube-plates are most
         frequently caused by forced steaming.



  tube-plug n. a plug or stopper for boiler-tubes in case of leakage
 (Knight).


  tube-pouch n. a pouch for priming-tubes (Webster, 1864).


  tube roving-frame n. = tube roving-machine n.


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    1839 A. URE Dict. Arts 355 The Bobbin and Fly frame is now the great roving machine of the cotton
          manufacture; to which may be added, for coarse spinning, the tube roving frame.



  tube roving-machine n. a roving-frame having revolving
 horizontal cylinders instead of conical cans.

    1839 A. URE Dict. Arts 354 The cotton sliver receives a twist..in the bobbin and fly frame, or..in the
         tube-roving machine.



  tube-saw n. a cylindrical saw (Webster, 1911).


  tube-scaler n.


  tube-scraper n. = tube-cleaner n. (Knight).


  tube-sheet n. = tube-plate n.

    1877 E. H. KNIGHT Pract. Dict. Mech., Tube~sheet.
    1903 Daily Chron. 20 Jan. 6/3 The boiler tubes getting choked up..through the tubes leaking in the
         back tube sheet.



  tube-shell n. a bivalve mollusc of the family Tubicolæ or
 Gastrochænidæ, distinguished by having a shelly tube enclosing the
 siphons, in addition to the ordinary valves of the shell.

    1861 P. P. CARPENTER in Rep. Smithsonian Inst. 1860 249 Family Gastrochænidæ. (Tube-Shells).



  tube shelter n. an underground tube station used as an air-raid
 shelter; also attrib.

    1942 N. BALCHIN Darkness falls from Air xi. 196 We went..by tube... I wanted to see how the tube
         shelter business was working out.
    1943 C. MILBURN Diary 4 Mar. (1979) 170 There was a terrible accident at a tube shelter last night
         after the sirens had sounded in London.
    1962 Times 23 Jan. 13/4 Henry Moore's Tube-Shelter drawings.




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  tube-shutter n. a shutter closing the outer end of a submerged
 torpedo-tube (Webster, 1911).


  tube skate n. = sense 2j above.

    1923 E. JESSUP Snow & Ice Sports 230 ‘Tube’ skates.
    1975 Whig-Standard (Kingston, Ont.) 19 Dec. 12/3 As a reporter who has covered various
         classifications of professional hockey since the invention of tube skates, it is my considered
          opinion that Robert Earle Clarke is one of the most adept ankle-tappers in the history of the
          game.



  tube sock n. an elasticized sock with no shaping for the heel.

    1976 N.Y. Times Mag. 18 Jan. 4/2 Monday morning I bought a striped blue pair of training
         shoes,..tube socks, a sweatband and a book called ‘On the Road to Self Improvement: The Joy
         of Jogging’.



  tube-spinner n. = tube-weaver n.


  tube steak n. slang a hot dog, a frankfurter.

    1963 Amer. Speech 38 272 Frankfurters are tube steaks.
    1978 Boston Globe 15 Aug. 1/1 The food isn't bad which is mainly tube steaks (hot dogs).



  tube-stopper n. = tube-plug n.


  tube-surface n. the heating or cooling surface comprised in the
 tubes of a boiler or condenser ( Funk's Standard Dict. Eng. Lang.
 1895).


  tube top n. a women's close-fitting elasticated top reaching from
 the waist to under-arm level.

    1974 News & Reporter (Chester, S. Carolina) 24 Apr. 4-c (advt.) Calico-print elasticized tube tops!
    1984 New Yorker 23 Apr. 42/1 She was wearing khaki shorts and a lime-green tube top.




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  tube-valve n. a tubular valve.

    1884 E. H. KNIGHT Pract. Dict. Mech., Suppl., Tube-valve.
    1899 Daily News 16 Jan. 7/3 The tube-valve that set those massive hydraulic triggers free.



  tube-vice n. ( tube-vise n.) a pipe-vice (Knight).


  tube-weaver n. a spider which spins a tubular nest or lair.

    1885 H. C. MCCOOK Tenants Old Farm 233 The arbor vitæ hedge, where numbers of the speckled
         Tubeweaver (Agalena nævia) yearly spin their broad snares.



  tube-well n. an iron pipe with a solid steel point, and with lateral
 perforations towards the point, which is driven into the earth until a
 water-bearing stratum is reached, when a suction pump is applied to
 the upper end.

    1877 E. H. KNIGHT Pract. Dict. Mech., Tube-well.
    1885 Daily News 7 Feb. 3/2 Pack saddles for mules, and tube-wells.



  tube-worm n. a tubicolous worm; a pipe-worm.

    1813 J. M. GOOD et al. Pantologia at Sipunculus, Tube-worm.
    1928 F. S. RUSSELL & C. M. YONGE Seas viii. 194 The case of the concealed animals, such as the
         Piddock or the Tube-worm,..presents almost equal difficulties.
    1981 Sci. Amer. May 90/3 Occasionally a crab would climb the stalk of a tube worm, presumably to
         attack its plume.



  tube-wrench n. a wrench for gripping pipes or tubes, a pipe-
 wrench.


  tube yarn n. yarn passed through a tube in the process of
 manufacture.

    1891 Daily News 2 Oct. 2/6 Single yarns, tube yarns, and mohair yarns.




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 DERIVATIVES



  ˈtubeful n. as much as a tube will hold.

    1897 G. C. BATEMAN Vivarium vii. 292 One or more tubefuls [printed tubesful] of meat can be
         inserted into the gullet of each Reptile.



  ˈtubeless adj. having no tube or tubes.

    1855 Chambers's Jrnl. 3 206 Huyghens made his observations with a tubeless telescope.
    1898 Cycling 71 The Fleuss or ‘Tubeless Tyre’.




 DRAFT ADDITIONS 1993



  A woman's close-fitting, sheath-like garment, freq. of simple design
 without darts or other tailoring; a tube dress, skirt, etc. Cf. boob tube
 n. at BOOB n. Additions.

    [1948 Vogue Oct. 43 Skirts range from Dior's full stiff uneven hemlines..to Fath's test tubes.]
    1975 Country Life 13 Feb. 406/1 We are taking to the tube. Tightening our skirts, that is.
    1983 Times 18 Oct. 10/3 A fluid silk dress..stuffed into a jersey tube at the hips looked rather
         clumsy.
    1986 Slimming Nov.–Dec. 15/3 The sweater dress is the hardest-to-wear-well garment around. Any
         plain-knit tube is extremely enlarging and unkindly guaranteed to grab just where you wish it
         wouldn't.




 DRAFT ADDITIONS 1993



  The cylindrical metal housing on a battleship or submarine from
 which a torpedo is discharged; = torpedo-tube n. at TORPEDO n.
 Compounds 2.

    1881 Naval Encycl. 814/1 The torpedo can be projected from tubes under water either right ahead
         or on the broadside.




                                                                                   Ex.69-p.26
http://www.oed.com/view/Entry/207148?rskey=LOAOKY&result=1&isAdvanced=false&... 7/21/2014
tube, n. : Oxford English Dictionary                                                             Page 25 of 26
            Case 3:13-cv-01045-SI          Document 137-1         Filed 07/22/14       Page 28 of 55


    1928 Observer 11 Mar. 17/4 The King of Afghanistan will be given a lesson in torpedo firing and
          himself discharge a ‘mouldy’ from one of L22's tubes.
    1942 G. HACKFORTH-JONES One-One-One i. 7 Those [torpedoes] ready for firing lying concealed in
         the tubes..were the pride of the ‘Fore-ends’ crew.
    1976 Oxf. Compan. Ships & Sea 879/2 The world's first real torpedoboat was H.M.S. Lightning,
         launched in 1876 to carry spar torpedoes, but modified in 1879 by the addition of two above-
         water tubes for the discharge of Whitehead torpedoes.
    1989 Ships Mar. 11/2 When completed she will be armed with four 21-inch tubes, mounted
         amidships, for Gould Mk48 heavyweight ASW torpedoes or sub Harpoon anti-ship missiles.




 DRAFT ADDITIONS 1993



  pl. The Fallopian tubes. Freq. in phr. to have one's tubes tied,
 etc.: to undergo sterilization by tubal ligation. slang.

    1970 J. DIDION Play it as it Lays xlv. 120 ‘Pelvic abscess.’ The girl loosened her wrapper and
         absently stroked her collarbone. ‘All through my tubes.’
    1974 K. MILLETT Flying IV. 404 Too old to have more children, afraid of pregnancy and now tying
         her tubes.
    1984 D. LODGE Small World IV. iii. 277 We had no children, not by choice, something to do with
         Gertrude's tubes.
    1987 K. VONNEGUT Bluebeard (1988) vi. 54 Her mother was thinking of having her tubes tied.




 DRAFT ADDITIONS 1993


  tube dress n. a close-fitting dress hanging straight from the
 shoulders; a chemise dress.

    1948 Vogue Oct. 47 (caption) , Back-dipping cape—in stiffened black wool lined brown mouton,
         over tube dress.
    1977 Vogue Dec. 116 (caption) Black chiffon tube dress patterned with gold spots.




 DRAFT ADDITIONS 1993


  tube skirt n. a tight, close-fitting skirt, often made from a single
 piece of knitted or elasticized material.



                                                                                   Ex.69-p.27
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tube, n. : Oxford English Dictionary                                                             Page 26 of 26
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    1948 Vogue Oct. 45 (caption) The tube skirt—razor-sharp silhouette on Marcelle Chaumont's prune
           suit.
    1986 Hair Flair Sept. 57/1 Go for..short tube skirts and cropped tops.




 DRAFT ADDITIONS JUNE 2006


  tube pan n. chiefly N. Amer. a round cake tin with a hollow tube or
 cone in the centre that produces a ring-shaped cake.

    1897 Marion (Ohio) Daily Star 23 June 3/2 Bake in moderate oven, in tube pan, about 50 minutes.
    1937 Amer. Home Apr. 50/2 Rinse a tube pan with cold water and pour batter in.
    1994 Food & Wine Oct. 48/3 Gently pour the batter into a 10-inch tube pan with a removable
         bottom.




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                              porn            noun, often attributive       \ˈpȯrn\



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                              tube            noun   \ˈtüb, ˈtyüb\

                                  : a long, hollow object that is used especially to control the
                                  flow of a liquid or gas

                                  : an object shaped like a pipe

                                  : a soft, long, narrow container that has a small opening at
                                  one end and that contains a soft material which can be                         Name That Thing
                                  pushed out by squeezing                                                        Take our visual vocab quiz
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                              Full Definition of TUBE                                                 Like

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                              1 : any of various usually cylindrical structures or devices: as
                                                                                                                 A quick quiz about stuff worth knowing
                                  a : a hollow elongated cylinder; especially : one to convey                    Take It Now »
                                  fluids
                                                                                                                 Spell It
                                  b : a soft tubular container whose contents (as toothpaste)
                                                                                                                 The commonly misspelled words quiz
                                  can be removed by squeezing
                                                                                                                 Hear It, Spell It »
                                  c (1) : TUNNEL (2) British : SUBWAY b

                                  d : the basically cylindrical section between the mouthpiece
                                  and bell that is the fundamental part of a wind instrument                      Zeitgeist & More: Words For
                                                                                                                  Ideas Worth Thinking About
                              2 a : a slender channel (as a fallopian tube or a pollen tube)
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                                  within a plant or animal body : DUCT                                            Concepts

                                  b : the narrow basal portion of a corolla with united petals or
                                                                                                                  Frog Tossing & More: Words
                                  a calyx with united sepals                                                      You May Hardly Believe
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                              3 : INNER TUBE

                              4 a : ELECTRON TUBE; especially : VACUUM TUBE

                                  b : CATHODE-RAY TUBE; especially : a television picture tube

                                  c : TELEVISION                                                                  Get Our Free Apps
                              5 : an article of clothing shaped like a tube <a tube top> <tube                    Voice Search, Favorites,
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                                  — tubed        adjective
                                  — tube·like        adjective

                                  — down the tube or down the tubes




                                                                                                                                                  Ex.70-p.3
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                         She was breathing oxygen through a tube.

                         <watched the liquid move through the tube between the
                         flasks and recorded the movement in his chemistry
                         notebook>


                  Origin of TUBE

                     French, from Latin tubus; akin to Latin tuba trumpet
                     First Known Use: 1651


                  Related to TUBE

                  Synonyms
                         channel, conduit, duct, leader, line, penstock, trough, pipe

                  Related Words
                         drain, drainpipe, funnel, hydrant, main, smokestack, spout,
                         standpipe, stovepipe, tile, waste pipe, waterspout; pipage
                         (or pipeage), pipeline, piping

                  more


                  Rhymes with TUBE

                     boob, cube, lube, rube

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                                               tube        (t b, ty b)
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                                                                                                                           Share: tube
             HOW TO USE THE                                                                                                                                   PURCHASE THE
             DICTIONARY                        n.                                                                                                             DICTIONARY
                                                      1.
     Learn what the dictionary tells                         a. A hollow cylinder, especially one that conveys a fluid or functions as a              The online searchable American
     you about words.                                        passage.                                                                                 Heritage Dictionary includes

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                                                             b. An organic structure having the shape or function of a tube; a duct: a                definitions, pronunciations,
                                                             bronchial tube.                                                                          etymologies, and feature notes.
                                                                                                                                                      For further information, including
                                                      2. A small flexible cylindrical container sealed at one end and having a screw cap at           the Indo-European Roots
                                                      the other, for pigments, toothpaste, or other pastelike substances.                             Appendix and the Semitic Roots
             THE USAGE PANEL                          3. Music The cylindrical part of a wind instrument.                                             Appendix, you can purchase the
                                                      4. Electronics                                                                                  dictionary as an iOS or an
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                                                             a. An electron tube.
     The Usage Panel is a group of                                                                                                                    printed edition.
     nearly 200 prominent scholars,
                                                             b. A vacuum tube.
     creative writers, journalists,                   5. Botany The lower, cylindrical part of a gamopetalous corolla or a gamosepalous
     diplomats, and others in                         calyx.
     occupations requiring mastery of                 6.
                                                                                                                                                              OPEN DICTIONARY
     language. The Panelists are                             a. A tunnel.                                                                                     PROJECT
     surveyed annually to gauge the                          b. An underground railroad system, especially the one in London, England.
     acceptability of particular                      7. The elongated space inside a wave when it is breaking.                                       Share your ideas for new words
     usages and grammatical                           8.                                                                                              and new meanings of old
     constructions.                                          a. An inner tube.                                                                        words!
     THE PANELISTS                                           b. An inflatable tube or cushion made of rubber or plastic and used for
                                                                                                                                                      START SHARING NOW!
                                                             recreational riding, as behind a motor boat or down a snow-covered slope.
                                                      9. Informal
                                                             a. Television: What's on the tube?
             NEED HELP                                       b. A television set.
             SOLVING A
                                                      10. tubes Informal The fallopian tubes.
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             PUZZLE?                           v. tubed, tub·ing, tubes                                                                               See word lists from the best-
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                                               v.tr.
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     that you know, and the Solver                    2. To place in or enclose in a tube.
     will produce a list of possible           v.intr.
     solutions.                                       To ride or float on an inflated tube for recreation.
                                               Idiom:
                                               down the tubes/tube Slang
                                                      Into a state of failure or ruin: saw her plans go down the tubes.

                                               [French, from Old French, from Latin tubus.]

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                                                                                                                                                                   Ex.72-p.4
file:///D|/Dropbox/Ciampa%20Fray-Witzer/Clients/Calista/American%20Heritage%20Dictionary%20Entry%20%20tube.htm[7/21/2014 10:54:37 PM]
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                         Exhibit
                           73
pornography noun - definition in the American English Dictionary - Cambridge Dictionar... Page 1 of 2
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                                  English definition of “pornography”                                                     Definitions of “pornography” in other
                                                                                                                          dictionaries
                                  pornography                                                                              British English       Learner's
                                   noun [U]              /pɔrˈnɑɡ·rə·fi/ (INFML porn, /pɔrn/)
                                                                                                                          Translations of “pornography”
                                    ›   pictures , movies , or writing that show or describe sexual
                                                                                                                           in Spanish        in Arabic     in Catalan
                                        behavior for the purpose of exciting people sexually
                                                                                                                           in Chinese (Simplified)
                                  (Definition of pornography noun from the Cambridge Academic Content Dictionary ©
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                                  Focus on the pronunciation of pornography                                                in Japanese        in Korean      in Polish
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                                                                                                                           • pore noun
                                                                                                                           • pore over something phrasal verb
                                                                                                                           • pork barrel noun
                                                                                                                           • pork noun
                                                                                                                           • pornographer noun
                                                                                                                           • pornography noun
                                                                                                                           • porous adjective
                                                                                                                           • porpoise noun
                                                                                                                           • porridge noun
                                                                                                                           • port noun (CITY)
                                                                                                                           • port noun (CONNECTION)
                                                                                                                           • port noun (LEFT)
                                                                                                                           • portable adjective




                                                                                                                            chef
                                                                                                                            a skilled and trained cook who works in a
                                                                                                                            hotel or restaurant, especially the most
                                                                                                                            important cook
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                                                                                                                           “tube”
                                  tube                                                                                      tube noun (PIPE)
                                   noun [U] (TELEVISION)                /tub/ INFML                                         tube noun (CONTAINER)
                                    ›   television :                                                                        cathode ray tube noun
                                                                                                                            inner tube noun
                                        What’s on the tube tonight ?
                                                                                                                            test tube noun
                                  (Definition of tube noun (TELEVISION) from the Cambridge Academic Content Dictionary ©
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                                                                                                                             a skilled and trained cook who works in a
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                              • tuba noun                         • Light and colour
                              • tube noun (CONTAINER)             • Personal care
                              • tube noun (PIPE)
                              • tube noun (TELEVISION)
                              • tuberculosis noun
                              • tuck in someone phrasal verb
                              • tuck verb (MAKE TIGHT)
                              • tuck verb (STORE SAFELY)
                              • tucked away idiom
                              • Tuesday noun
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                         Exhibit
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Food porn                                                                                                                             1



    Food porn
    Not to be confused with food and sexuality.
    Food porn is a glamourized spectacular visual presentation of cooking or eating
    in advertisements, infomercials, cooking shows or other visual media, foods
    boasting a high fat and calorie content, exotic dishes that arouse a desire to eat or
    the glorification of food as a substitute for sex. Food porn often takes the form of
    food photography and styling that presents food provocatively, in a similar way
    to glamour photography or pornographic photography.


    History
    The term appears to have been coined by the feminist critic Rosalind Coward in
    her 1984 book Female Desire in which she writes:
            "Cooking food and presenting it beautifully is an act of servitude. It             Glossy, coiffed picture of a stuffed
            is a way of expressing affection through a gift... That we should                                pepper
            aspire to produce perfectly finished and presented food is a symbol
            of a willing and enjoyable participation in servicing others. Food pornography exactly sustains these
            meanings relating to the preparation of food. The kinds of picture used always repress the process of
            production of a meal. They are always beautifully lit, often touched up." (p. 103)
    In the United States, food porn is a term applied when "food manufacturers are capitalising on a backlash against
    low-calorie and diet foods by marketing treats that boast a high fat content and good artery-clogging potential". The
    origin of the term was attributed to the Center for Science in the Public Interest which began publishing a regular
    column called "Right Stuff vs. Food Porn" for its Nutrition Action Healthletter in January 1998.
    In the United Kingdom, the term became popular in the 1990s due to the TV cookery programme Two Fat Ladies
    after the shows producer described the "pornographic joy" the pair of them took in using vast quantities of butter and
    cream.


    References

    Further reading
    • Hertneky, Paul, Popmatters.com (August 15, 2006). More Than a Mouthful (http://www.popmatters.com/
      features/060815-foodporn.shtml)




                                                                                                                                Ex.74-p.1
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